     Case 1:09-cr-00112-PB   Document 63   Filed 10/19/09   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-112-PB

Michael Roux, et al.



                               O R D E R

     Defendant, Justin Davis, has moved through counsel to

continue the trial scheduled for November 3, 2009, citing

complications of this multi-defendant case and the need for

additional time to complete discovery and prepare for trial.              The

government and co-defendants do not object to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from November 3, 2009 to January 5, 2010.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:09-cr-00112-PB   Document 63   Filed 10/19/09   Page 2 of 2




      The October 20, 2009 final pretrial conference is continued

to December 21, 2009 at 4:00 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

October 19, 2009

cc:   Patrick Shanley, Esq.
      Kevin Sharkey, Esq.
      Stanley W. Norkunas, Esq.
      Michael Shklar, Esq.
      Theodore Lothstein, Esq.
      Mark E. Howard, Esq.
      Tony Soltani, Esq.
      Michael Zaino, Esq.
      United States Probation
      United States Marshal




                                     2
